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            BAV AUTO, LLC, CHAPTER 11, SUBCHAPTER V CASE NO. 22‐17933 (JKS)

   COMBINED EXHIBITS A AND F FOR FORM 425C SMALL BUSINESS MONTHLY OPERATING
                                    REPORT



RE: EXHIBIT A

There have been no business operations since the petition date and during the period of the
operating report. There are no employees since the petition date and no tax liabilities have
accrued post‐petition. The Debtor intends on paying the required quarterly fees to the United
States Trustee to stay in compliance within ten (10) days of filing the reports. Debtor still holds
value in assets that are being surrendered to secured creditors through Plan or by way of consent
order to reduce amounts due to said creditors.



RE: EXHIBIT F

The disclosed total receivables are amounts listed in the Debtor’s filed Schedule B. To date, they
have not been collectable. They are the same receivables that were owed pre‐petition.
